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                                                                             EXECUTION VERSION



                               PHANTOM STOCK AGREEMENT

         This Phantom Stock Agreement ("Agreement") is dated effective as of November 12, 2017
  ("Grant Date"), by and between London Trust Media Incorporated, an Indiana corporation
  ("Corporation"), and Turnkey Linux Ltd., an Israeli corporation ("Recipient").

                                             RECITALS

         A.     The Corporation through its Board of Directors (" Board") has adopted the London
  Trust Media Incorporated Phantom Stock Ownership and Long Term Incentive Plan ("Plan") as
  amended from time to time.

          B.     The Board has dete1mined that it is in the best interest of the Corporation that the
  Corporation grants to the Recipient shares of Phantom Stock (" Phantom Stock") pursuant to the
  terms, and subject to the conditions, of this Agreement and the Plan.

         The parties, intending to be legally bound, agree as follows:


                                            ARTICLE 1
                                           DEFINITIONS

          Any capitalized terms used in this Agreement but not defined in this Agreement shall have
  the respective meanings given to such terms in the Plan, a copy of which has been made available
  to Recipient.


                                   ARTICLE2
                         GRANTOFSHARESOFPHANTOMSTOCK

          Pursuant to the terms and subject to the conditions of this Agreement and the Plan, the
  Corporation grants to the Recipient 250 shares of Phantom Stock. In general, and subject to the
  term and conditions of this Agreement, and the Board Adviser Agreement ("BAA") dated effective
  the Grant Date between the Corporation and the Recipient, each grant of Phantom Stock will not
  be subject to forfeiture. In lieu of the Vesting Schedules set forth in the Plan, the 250 Shares of
  Phantom Stock granted to the Recipient are vested as of the Grant Date but are subject to forfeiture
  as set forth in Schedule 2 of the Board Adviser Agreement (vested Shares shall be forfeited based
  on a monthly proration basis and date of termination in the event the BAA is terminated before the
  three-year anniversary of the Effective Date (as defined in the BAA).


                                     ARTICLE3
                       DURATION OF SHARES OF PHANTOM STOCK

         The shares of Phantom Stock shall be redeemable upon the consummation of a Change in
  Control Transaction ("Redemption Date"), as set forth in the Plan, and shall be redeemed within
  30 days of the Redemption Date.
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                                        ARTICLE4
                                   REDEMPTION OF SHARES

         Section 4.1. Redemption. The Recipient shall redeem shares of Phantom Stock within 30
  days of the Redemption Date upon compliance with the following additional terms:

                (a)     Method of Redemption. The Recipient shall redeem shares of Phantom
         Stock by written notice, which written notice shall:

                        (i)      State the number of shares of Phantom Stock to be redeemed;

                        (ii)     Be signed by the Recipient; and

                       (iii)   Be in writing and delivered in person or by certified mail to the
                 Chairman of the Board of the Corporation.

                 (b)    Payment upon Redemption of Phantom Stock. Payment of any income and
         employment tax withholding (if applicable) shall accompany the written notice of
         redemption described above; provided, the Corporation may withhold for taxes from any
         cash payment due to Recipient with respect to the redemption of Phantom Stock. The
         Corporation shall cause to be issued and delivered to the Recipient the monies due upon
         redemption of the shares of Phantom Stock, in cash or by check, corporation draft or money
         order as soon as practicable following the receipt of notice and payment described above,
         but in no event later than 60 days following the Redemption Date.


                                        ARTICLES
                               NONTRANSFERABILITY OF SHARES

         Except as provided in the Plan, this grant of Phantom Stock shall not be transferable or
  assignable by the Recipient. The shares of Phantom Stock shall be redeemable during the
  Recipient's existence only by the Recipient. The shares of Phantom Stock shall not be pledged or
  hypothecated in any way, and shall not be subject to execution, attachment or similar process. Any
  attempted transfer, assignment, pledge, hypothecation or other disposition of the shares of Phantom
  Stock contrary to the provisions hereof and the provisions of the Plan, and the levy of any process
  upon the shares, shall be null, void and without effect.


                                      ARTICLE6
                          EFFECT OF AMENDMENT, SUSPENSION
                              OR TERMINATION OF PLAN

          No amendment, suspension or termination of the Plan shall, without the Recipient's written
  consent, and only with respect to previous grants of shares of Phantom Stock, adversely alter or
  impair the shares of Phantom Stock granted under the terms of this Agreement unless in response
  to changes in laws, rules, regulations or regulatory interpretations.




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                                       ARTICLE7
                               TERMINATION OF GRANT AFTER
                                      DISSOLUTION

         After the Recipient's dissolution, the right to redeem any shares of Phantom Stock shall
  terminate. In no event may shares of Phantom Stock be redeemed after the expiration or
  termination of the Phantom Stock, or such other date as specified in Article 3.


                                         ARTICLES
                                     ACKNOWLEDGEMENTS

          Section 8.1. Copy of Plan. The Recipient acknowledges prior receipt of a copy of the Plan,
  and the Recipient represents that he is familiar with the terms and provisions of the Plan and accepts
  the grant of the shares of Phantom Stock pursuant to the terms and subject to the conditions of the
  Plan. The Recipient acknowledges that nothing contained in the Plan or this Agreement shall (a)
  confer upon the Recipient any additional rights to continued employment or retention by the
  Corporation or any business entity related to the Corporation, or (b) interfere in any way with the
  right of the Corporation to terminate the Recipient's employment or retention or change the
  Recipient's compensation at any time.

         Section 8.2. Voting Rights. The Recipient acknowledges that, while the Value of the
  Phantom Stock changes as the shares of the Corporation 's Common Stock change in value, the
  grant of shares of Phantom Stock are not shares of the Corporation 's Common Stock and the
  Recipient will have no rights, including, without limitation, voting rights, that are typical of
  common stock.

          Section 8.3. Taxation. The Recipient acknowledges that, while no tax liability accrues at
  the grant of shares of Phantom Stock, tax liability will accrue at the time such shares of Phantom
  Stock become redeemable and the Recipient should seek the advice of the Recipient 's own tax
  advisers or consultants to determine the tax consequences associated with redemption of the shares
  of Phantom Stock.


                                          ARTICLE9
                                      TERM OF AGREEMENT

          This Agreement shall terminate upon the earlier of (a) complete redemption of the shares
  of Phantom Stock; (b) mutual consent of the parties to this Agreement; or (c) occurrence of the
  expiration or termination of the grant of Phantom Stock.




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          IN WITNESS WHEREOF, the parties have executed and delivered this Agreement
  effective as of the Grant Date.




                                       LONDON TRUST MEDIA INCORPORATED


                                       By: ~
                                           Ted Kim

                                       Its: Chief Executive Officer



                                       TURNKEY LINUX J._,TD.



                                       By ~ ~

                                       Its: Chief Executive Officer




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